                    Case 19-11240-LSS          Doc 259        Filed 07/01/19        Page 1 of 20




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       :
In re:                                                 :       Chapter 11
                                                       :
FTD Companies, Inc., et al.,1                          :       Case No. 19-11240 (LSS)
                                                       :
                    Debtors.                           :       (Jointly Administered)
                                                       :
                NOTICE OF AMENDED2AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON JULY 2, 2019 AT 2:00 P.M. (EDT)3

 I.       MATTERS WITH CERTIFICATIONS:

          1.         Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors to
                     Pay Prepetition Employee Wages, Benefits, and Related Items and (II) Granting
                     Certain Related Relief [Docket No. 5 - filed June 3, 2019]

                     Objection/Response Deadline:              June 25, 2019 at 4:00 p.m. (ET); extended
                                                               for the Official Committee of Unsecured
                                                               Creditors (the "Committee") to June 27,
                                                               2019 at 12:00 p.m. (ET)

                     Objection / Responses Received:

                     A.        Informal Comments from the Committee

                     Related Documents:


 1
          The Debtors are the following 15 entities (the last four digits of their respective taxpayer identification
          numbers, if any, follow in parentheses): FTD Companies, Inc. (5852); Bloom That, Inc. (9936); Florists'
          Transworld Delivery, Inc. (6960); FlowerFarm, Inc. (2852); FSC Denver LLC (7104); FSC Phoenix LLC
          (7970); FTD, Inc. (1271); FTD.CA, Inc. (7556); FTD.COM Inc. (4509); FTD Group, Inc. (9190); FTD
          Mobile, Inc. (7423); Giftco, LLC (5832); Provide Cards, Inc. (3462); Provide Commerce LLC (0019); and
          Provide Creations, Inc. (8964). The Debtors' noticing address in these chapter 11 cases is 3113 Woodcreek
          Drive, Downers Grove, IL 60515.
 2
          Amended items appear in bold.
 3
          The hearing will be held before The Honorable Laurie Selber Silverstein at the United States Bankruptcy
          Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom 2, Wilmington,
          Delaware 19801. Any person who wishes to appear telephonically at the July 2, 2019 hearing must contact
          COURTCALL, LLC at 866-582-6878 prior to the hearing to register his/her telephonic appearance in
          accordance with the Instructions for Telephonic Appearances Effective January 5, 2005, Revised May 11,
          2018.



 RLF1 21479987v.1
                   Case 19-11240-LSS       Doc 259        Filed 07/01/19   Page 2 of 20



                    i.     Interim Order Granting Motion of the Debtors for an Order
                           (I) Authorizing the Debtors to Pay Prepetition Employee Wages, Benefits,
                           and Related Items and (II) Granting Certain Related Relief [Docket No. 52
                           – entered June 4, 2019]

                    ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                           an Order (I) Authorizing the Debtors to Pay Prepetition Employee Wages,
                           Benefits, and Related Items and (II) Granting Certain Related Relief and
                           (B) Final Hearing Thereon [Docket No. 72 - filed June 6, 2019]

                    iii.   Certification of Counsel Regarding Final Order Granting Motion of the
                           Debtors for an Order (I) Authorizing the Debtors to Pay Prepetition
                           Employee Wages, Benefits, and Related Items and (II) Granting Related
                           Relief [Docket No. 234 - filed June 27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         2.         Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors to
                    (A) Maintain Certain Customer Programs and (B) Honor or Pay Related
                    Prepetition Obligations to Their Customers and (II) Granting Related Relief
                    [Docket No. 7 - filed June 3, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from the Committee

                    Related Documents:

                    i.     Interim Order Granting Motion of the Debtors for Interim and Final
                           Orders (I) Authorizing the Debtors to (A) Maintain Certain Customer
                           Programs and (B) Honor or Pay Related Prepetition Obligations to Their
                           Customers and (II) Granting Related Relief [Docket No. 50 – entered June
                           4, 2019]

                    ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                           Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain
                           Certain Customer Programs and (B) Honor or Pay Related Prepetition
                           Obligations to Their Customers and (II) Granting Related Relief and
                           (B) Final Hearing Thereon [Docket No. 70 - filed June 6, 2019]


                                                      2
RLF1 21479987v.1
                   Case 19-11240-LSS       Doc 259        Filed 07/01/19   Page 3 of 20



                    iii.   Certification of Counsel Regarding Final Order Granting Motion of the
                           Debtors for Interim and Final Orders (I) Authorizing the Debtors to (A)
                           Maintain Certain Customer Programs and (B) Honor or Pay Related
                           Prepetition Obligations to Their Customers and (II) Granting Related
                           Relief [Docket No. 237 - filed June 27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         3.         Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors to
                    Pay Prepetition Claims of Certain Essential Suppliers and (II) Granting Related
                    Relief [Docket No. 9 - filed June 3, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from the Committee

                    Related Documents:

                    i.     Interim Order Granting Motion of the Debtors for Interim and Final
                           Orders (I) Authorizing the Debtors to Pay Prepetition Claims of Certain
                           Essential Suppliers and (II) Granting Related Relief [Docket No. 48 –
                           entered June 4, 2019]

                    ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                           Interim and Final Orders (I) Authorizing the Debtors to Pay Prepetition
                           Claims of Certain Essential Suppliers and (II) Granting Related Relief and
                           (B) Final Hearing Thereon [Docket No. 73 - filed June 6, 2019]

                    iii.   Certification of Counsel Regarding Final Order Granting Motion of the
                           Debtors for Interim and Final Orders (I) Authorizing the Debtors to Pay
                           Prepetition Claims of Certain Essential Suppliers and (II) Granting
                           Related Relief [Docket No. 238 - filed June 27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         4.         Motion of the Debtors, Pursuant to Section 105 of the Bankruptcy Code, for an
                    Order (I) Confirming the Protections of Sections 362, 365, and 525 of the

                                                      3
RLF1 21479987v.1
                   Case 19-11240-LSS        Doc 259       Filed 07/01/19    Page 4 of 20



                    Bankruptcy Code and (II) Granting Certain Related Relief [Docket No. 10 - filed
                    June 3, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)

                    Objection / Responses Received:        None as of this date.

                    Related Documents:

                    i.     Notice of Motion and Hearing [Docket No. 91 - filed June 7, 2019]

                    ii.    Certificate of No Objection Regarding Motion of the Debtors, Pursuant to
                           Section 105 of the Bankruptcy Code, for an Order (I) Confirming the
                           Protections of Sections 362, 365, and 525 of the Bankruptcy Code and
                           (II) Granting Certain Related Relief [Docket No. 233 - filed June 27,
                           2019]

                    Status: On June 27, 2019, the Debtors filed a certificate of no objection regarding
                            this matter. Accordingly, a hearing on this matter is only necessary to the
                            extent the Court has questions or concerns.

         5.         Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors to
                    Pay Prepetition Claims of Certain Lien Claimants and (II) Granting Related Relief
                    [Docket No. 12 - filed June 3, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from the Committee

                    Related Documents:

                    i.     Interim Order Granting Motion of the Debtors for Interim and Final
                           Orders (I) Authorizing the Debtors to Pay Prepetition Claims of Certain
                           Lien Claimants and (II) Granting Related Relief [Docket No. 47 – entered
                           June 4, 2019]

                    ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                           Interim and Final Orders (I) Authorizing the Debtors to Pay Prepetition
                           Claims of Certain Lien Claimants and (II) Granting Related Relief and
                           (B) Final Hearing Thereon [Docket No. 75 - filed June 6, 2019]


                                                      4
RLF1 21479987v.1
                   Case 19-11240-LSS       Doc 259     Filed 07/01/19     Page 5 of 20



                    iii.   Certification of Counsel Regarding Final Order Granting Motion of the
                           Debtors for Interim and Final Orders (I) Authorizing the Debtors to Pay
                           Prepetition Claims of Certain Lien Claimants and (II) Granting Related
                           Relief [Docket No. 239 - filed June 27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         6.         Motion of the Debtors for Interim and Final Orders (I) Establishing Adequate
                    Assurance Procedures with Respect to Their Utility Providers and (II) Granting
                    Related Relief [Docket No. 13 - filed June 3, 2019]

                    Objection/Response Deadline:         June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for the Committee to June 27, 2019 at 12:00
                                                         p.m. (ET)

                    Objection / Responses Received:

                    A.     Objection of Commonwealth Edison Company and San Diego Gas and
                           Electric Company to the Motion of the Debtors for Interim and Final
                           Orders (I) Establishing Adequate Assurance Procedures With Respect to
                           Their Utility Providers and (II) Granting Related Relief [Docket No. 196 –
                           filed June 25, 2019]

                    B.     Informal Comments from the Committee

                    Related Documents:

                    i.     Interim Order Granting Motion of the Debtors for Interim and Final
                           Orders (I) Establishing Adequate Assurance Procedures with Respect to
                           Their Utility Providers and (II) Granting Related Relief [Docket No. 59 –
                           entered June 5, 2019]

                    ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                           Interim and Final Orders (I) Establishing Adequate Assurance Procedures
                           with Respect to Their Utility Providers and (II) Granting Related Relief
                           and (B) Final Hearing Thereon [Docket No. 78 - filed June 6, 2019]

                    iii.   Notice of Withdrawal of Objection of Commonwealth Edison Company
                           and San Diego Gas and Electric Company to the Motion of the Debtors for
                           Interim and Final Orders (I) Establishing Adequate Assurance Procedures
                           With Respect to Their Utility Providers and (II) Granting Related Relief
                           [Docket No. 227 - filed June 27, 2019]

                    iv.    Certification of Counsel Regarding Final Order Granting Motion of the
                           Debtors for Interim and Final Orders (I) Establishing Adequate Assurance
                                                    5
RLF1 21479987v.1
                   Case 19-11240-LSS       Doc 259     Filed 07/01/19     Page 6 of 20



                           Procedures With Respect to Their Utility Providers and (II) Granting
                           Related Relief [Docket No. 240 - filed June 27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         7.         Motion of the Debtors for Interim and Final Orders (I) Authorizing the Payment
                    of Certain Prepetition Claims Asserted Under the Perishable Agricultural
                    Commodities Act and (II) Granting Related Relief [Docket No. 14 - filed
                    June 3, 2019]

                    Objection/Response Deadline:         June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for the Committee to June 27, 2019 at 12:00
                                                         p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from the Committee

                    Related Documents:

                    i.     Interim Order Granting Motion of the Debtors for Interim and Final
                           Orders (I) Authorizing the Payment of Certain Prepetition Claims
                           Asserted Under the Perishable Agricultural Commodities Act and
                           (II) Granting Related Relief [Docket No. 49 – entered June 4, 2019]

                    ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                           Interim and Final Orders (I) Authorizing the Payment of Certain
                           Prepetition Claims Asserted Under the Perishable Agricultural
                           Commodities Act and (II) Granting Related Relief and (B) Final Hearing
                           Thereon [Docket No. 76 - filed June 6, 2019]

                    iii.   Certification of Counsel Regarding Final Order Granting Motion of the
                           Debtors for Interim and Final Orders (I) Authorizing the Payment of
                           Certain Prepetition Claims Asserted Under the Perishable Agricultural
                           Commodities Act and (II) Granting Related Relief [Docket No. 241 - filed
                           June 27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         8.         Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors to
                    Pay Prepetition Taxes and (II) Granting Related Relief [Docket No. 16 - filed
                    June 3, 2019]
                                                     6
RLF1 21479987v.1
                   Case 19-11240-LSS       Doc 259        Filed 07/01/19   Page 7 of 20



                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from the Committee

                    Related Documents:

                    i.     Interim Order Granting Motion of the Debtors for Interim and Final
                           Orders (I) Authorizing the Debtors to Pay Prepetition Taxes and
                           (II) Granting Related Relief [Docket No. 51 – entered June 4, 2019]

                    ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                           Interim and Final Orders (I) Authorizing the Debtors to Pay Prepetition
                           Taxes and (II) Granting Related Relief and (B) Final Hearing Thereon
                           [Docket No. 77 - filed June 6, 2019]

                    iii.   Certification of Counsel Regarding Final Order Granting Motion of the
                           Debtors for Interim and Final Orders (I) Authorizing the Debtors to Pay
                           Prepetition Taxes and (II) Granting Related Relief [Docket No. 242 - filed
                           June 27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         9.         Debtors' Application for an Order Authorizing Them to (I) Employ and Retain AP
                    Services, LLC and (II) Designate Alan D. Holtz as Chief Restructuring Officer
                    and Scott M. Tandberg as Associate Restructuring Officer, Nunc Pro Tunc to the
                    Petition Date [Docket No. 81 – filed June 6, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET); extended for the U.S. Trustee to
                                                           June 28, 2019 at 12:00 p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from U.S. Trustee

                    Related Documents:

                    i.     Certificate of No Objection Regarding Debtors' Application for an Order
                           Authorizing Them to (I) Employ and Retain AP Services, LLC and (II)

                                                      7
RLF1 21479987v.1
                   Case 19-11240-LSS        Doc 259       Filed 07/01/19   Page 8 of 20



                           Designate Alan D. Holtz as Chief Restructuring Officer and Scott M.
                           Tandberg as Associate Restructuring Officer, Nunc Pro Tunc to the
                           Petition Date [Docket No. 232 - filed June 27, 2019]

                    Status: On June 27, 2019, the Debtors filed a certificate of no objection regarding
                            this matter. Accordingly, a hearing on this matter is only necessary to the
                            extent the Court has questions or concerns.

         10.        Motion of the Debtors for an Order (I) Authorizing the Retention and Payment,
                    Nunc Pro Tunc as of the Petition Date, of Professionals Utilized by the Debtors in
                    the Ordinary Course of Business and (II) Granting Certain Related Relief [Docket
                    No. 106 – filed June 11, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET); extended for the U.S. Trustee to
                                                           June 28, 2019 at 12:00 p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from the Committee

                    B.     Informal Comments from the U.S. Trustee

                    Related Documents:

                    i.     Certification of Counsel Regarding Order (I) Authorizing the Retention
                           and Payment, Nunc Pro Tunc as of the Petition Date, of Professionals
                           Utilized by the Debtors in the Ordinary Course of Business and (II)
                           Granting Certain Related Relief [Docket No. 246 - filed June 28, 2019]

                    ii.    Notice of Revised OCP List [Docket No. 257 – filed June 28, 2019]

                    Status: On June 28, 2019, the Debtors filed a certification of counsel regarding
                            this matter and a revised list of ordinary course professionals.
                            Accordingly, a hearing on this matter is only necessary to the extent the
                            Court has questions or concerns.

         11.        Debtors' Application to Retain and Employ Richards, Layton & Finger, P.A. as
                    Co-Counsel Pursuant to Section 327(a) of the Bankruptcy Code, Bankruptcy
                    Rules 2014(a) and 2016 and Local Rule 2014-1, Nunc Pro Tunc to the Petition
                    Date [Docket No. 108 – filed June 11, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)


                                                      8
RLF1 21479987v.1
                   Case 19-11240-LSS        Doc 259       Filed 07/01/19   Page 9 of 20



                    Objection / Responses Received:        None.

                    Related Documents:

                    i.     Certificate of No Objection Regarding Debtors' Application to Retain and
                           Employ Richards, Layton & Finger, P.A. as Co-Counsel Pursuant to
                           Section 327(a) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and
                           2016 and Local Rule 2014-1, Nunc Pro Tunc to the Petition Date [Docket
                           No. 231 - filed June 27, 2019]

                    Status: On June 27, 2019, the Debtors filed a certificate of no objection regarding
                            this matter. Accordingly, a hearing on this matter is only necessary to the
                            extent the Court has questions or concerns.

         12.        Motion of the Debtors for an Order Establishing Procedures for Interim
                    Compensation and Reimbursement of Expenses of Professionals [Docket No. 140
                    – filed June 18, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)

                    Objection / Responses Received:

                    A.     Informal Comments from U.S. Trustee

                    Related Documents:

                    i.     Certification of Counsel Regarding Order Granting Motion of the Debtors
                           for an Order Establishing Procedures for Interim Compensation and
                           Reimbursement of Expenses of Professionals [Docket No. 243 - filed June
                           27, 2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         13.        Motion of the Debtors for an Order Establishing Procedures for the Sale, Transfer
                    or Abandonment of Miscellaneous and De Minimis Assets and Granting Certain
                    Related Relief [Docket No. 141 – filed June 18, 2019]

                    Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                           for the Committee to June 27, 2019 at 12:00
                                                           p.m. (ET)

                    Objection / Responses Received:

                                                      9
RLF1 21479987v.1
               Case 19-11240-LSS          Doc 259        Filed 07/01/19   Page 10 of 20




                   A.     Informal Comments from the Committee

                   B.     Informal Comments from the U.S. Trustee

                   Related Documents:

                   i.     Certification of Counsel Regarding Order Establishing Procedures for the
                          Sale, Transfer or Abandonment of Miscellaneous and De Minimis Assets
                          and Granting Certain Related Relief [Docket No. 244 - filed June 27,
                          2019]

                   Status: On June 27, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

II.      MATTERS GOING FORWARD:

         14.       Motion of the Debtors for Interim and Final Orders: (I) Approving the Continued
                   Use of the Debtors' Cash Management System and Business Forms;
                   (II) Extending the Debtors' Time to Comply With Section 345(b) of the
                   Bankruptcy Code; (III) Approving Continuation of Ordinary Course
                   Intercompany Transactions; and (IV) Granting Related Relief [Docket No. 15 -
                   filed June 3, 2019]

                   Objection/Response Deadline:           June 25, 2019 at 4:00 p.m. (ET); extended
                                                          for the Committee to June 27, 2019 at 12:00
                                                          p.m. (ET)

                   Objection / Responses Received:

                   A.     Informal Comments from the Committee

                   B.     Informal Comments from JP Morgan Chase

                   Related Documents:

                   i.     Interim Order Granting Motion of the Debtors for Interim and Final
                          Orders: (I) Approving the Continued Use of the Debtors' Cash
                          Management System and Business Forms; (II) Extending the Debtors'
                          Time to Comply With Section 345(b) of the Bankruptcy Code;
                          (III) Approving Continuation of Ordinary Course Intercompany
                          Transactions; and (IV) Granting Related Relief [Docket No. 53 – entered
                          June 4, 2019]

                   ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                          Interim and Final Orders: (I) Approving the Continued Use of the Debtors'
                                                    10
RLF1 21479987v.1
               Case 19-11240-LSS         Doc 259       Filed 07/01/19   Page 11 of 20



                          Cash Management System and Business Forms; (II) Extending the
                          Debtors' Time to Comply With Section 345(b) of the Bankruptcy Code;
                          (III) Approving Continuation of Ordinary Course Intercompany
                          Transactions; and (IV) Granting Related Relief and (B) Final Hearing
                          Thereon [Docket No. 69 - filed June 6, 2019]

                   iii.   Certification of Counsel Regarding Final Order Granting Motion of
                          the Debtors for Interim and Final Orders: (I) Approving the
                          Continued Use of the Debtors' Cash Management System and
                          Business Forms; (II) Extending the Debtors' Time to Comply With
                          Section 345(b) of the Bankruptcy Code; (III) Approving Continuation
                          of Ordinary Course Intercompany Transactions; and (IV) Granting
                          Related Relief [Docket No. 256 - filed June 28, 2019]

                   Status: On June 28, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         15.       Motion of the Debtors for Interim and Final Orders (I) Authorizing Them to
                   (A) Pay Prepetition Insurance Obligations and Surety Bond Obligations and
                   (B) Continue Their Insurance Programs and Surety Bond Program and
                   (II) Granting Related Relief [Docket No. 17 - filed June 3, 2019]

                   Objection/Response Deadline:         June 25, 2019 at 4:00 p.m. (ET); extended
                                                        for the Committee to June 27, 2019 at 12:00
                                                        p.m. (ET)

                   Objection / Responses Received:

                   A.     Informal Comments from the Committee

                   Related Documents:

                   i.     Interim Order Granting Motion of the Debtors for Interim and Final
                          Orders (I) Authorizing Them to (A) Pay Prepetition Insurance Obligations
                          and Surety Bond Obligations and (B) Continue Their Insurance Programs
                          and Surety Bond Program and (II) Granting Related Relief [Docket No. 46
                          – entered June 4, 2019]

                   ii.    Notice of (A) Entry of Interim Order Granting Motion of the Debtors for
                          Interim and Final Orders (I) Authorizing Them to (A) Pay Prepetition
                          Insurance Obligations and Surety Bond Obligations and (B) Continue
                          Their Insurance Programs and Surety Bond Program and (II) Granting
                          Related Relief and (B) Final Hearing Thereon [Docket No. 74 - filed June
                          6, 2019]


                                                  11
RLF1 21479987v.1
               Case 19-11240-LSS          Doc 259       Filed 07/01/19    Page 12 of 20



                   iii.   Supplement to Motion of the Debtors for Interim and Final Orders (I)
                          Authorizing Them to (A) Pay Prepetition Insurance Obligations and
                          Surety Bond Obligations and (B) Continue Their Insurance Programs and
                          Surety Bond Program and (II) Granting Related Relief [Docket No. 216 -
                          filed June 26, 2019]

                   Status: The hearing on this matter is going forward.

         16.       Motion of the Debtors, Pursuant to Sections 105, 361, 362, 363, 364, and 507 of
                   the Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2, for Interim
                   and Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition Financing
                   and (B) Use Cash Collateral, (II) Granting Adequate Protection to Prepetition
                   Secured Parties, (III) Scheduling Final Hearing, and (IV) Granting Related Relief
                   [Docket No. 19 - filed June 3, 2019]

                   Objection/Response Deadline:          June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for OND Property LLC and the Committee
                                                         to June 27, 2019 at 12:00 p.m. (ET)

                   Objection / Responses Received:

                   A.     Objection of the Official Committee of Unsecured Creditors to Motion of
                          the Debtors for a Final Order (I) Authorizing Debtors to (A) Obtain
                          Postpetition Financing and (B) Use Cash Collateral, (II) Granting
                          Adequate Protection to Prepetition Secured Parties, (III) Scheduling Final
                          Hearing, and (IV) Granting Related Relief (SEALED) [Docket Mo. 218 -
                          filed June 27, 2019]

                   B.     Objection of the Official Committee of Unsecured Creditors to Motion of
                          the Debtors for a Final Order (I) Authorizing Debtors to (A) Obtain
                          Postpetition Financing and (B) Use Cash Collateral, (II) Granting
                          Adequate Protection to Prepetition Secured Parties, (III) Scheduling Final
                          Hearing, and (IV) Granting Related Relief (REDACTED) [Docket Mo.
                          219 - filed June 27, 2019]

                   C.     Limited Objection of OND Property LLC to Entry of Final DIP Order
                          [Docket No. 225 - filed June 27, 2019]

                   Related Documents:

                   i.     Interim Order Pursuant to Sections 105, 361, 362, 363, 364, and 507 of the
                          Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2,
                          (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B) Use
                          Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured
                          Parties, (III) Scheduling Final Hearing, and (IV) Granting Related Relief
                          [Docket No. 60 – entered June 5, 2019]


                                                   12
RLF1 21479987v.1
               Case 19-11240-LSS          Doc 259       Filed 07/01/19    Page 13 of 20



                   ii.    Notice of (A) Entry of Interim Order Pursuant to Sections 105, 361, 362,
                          363, 364, and 507 of the Bankruptcy Code, Bankruptcy Rule 4001, and
                          Local Rule 4001-2, (I) Authorizing Debtors to (A) Obtain Postpetition
                          Financing and (B) Use Cash Collateral, (II) Granting Adequate Protection
                          to Prepetition Secured Parties, (III) Scheduling Final Hearing, and
                          (IV) Granting Related Relief and (B) Final Hearing Thereon [Docket No.
                          71 - filed June 6, 2019]

                   iii.   Notice of Filing of Proposed Form of Final DIP Order [Docket No. 247 -
                          filed June 28, 2019]

                   Status: The hearing on this matter is going forward.

         17.       Debtors' Application for Entry of an Order Authorizing Them to (I) Employ and
                   Retain Piper Jaffray & Co. as Investment Banker to the Debtors Effective Nunc
                   Pro Tunc to the Petition Date, (II) Approving the Terms of the Engagement
                   Letter, (III) Waiving Certain Time-Keeping Requirements and (IV) Granting
                   Related Relief [Docket No. 79 – filed June 6, 2019]

                   Objection/Response Deadline:          June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for the Committee to June 27, 2019 at 12:00
                                                         p.m. (ET); extended for the Office of the
                                                         United States Trustee (the "U.S. Trustee") to
                                                         June 28, 2019 at 12:00 p.m. (ET)

                   Objection / Responses Received:

                   A.     Informal Comments from the U.S. Trustee

                   Related Documents:

                   i.     Certification of Counsel Regarding Order Approving Debtors'
                          Application for Entry of an Order Authorizing Them to (I) Employ
                          and Retain Piper Jaffray & Co. as Investment Banker to the Debtors
                          Effective Nunc Pro Tunc to the Petition Date, (II) Approving the
                          Terms of the Engagement Letter, (III) Waiving Certain Time-
                          Keeping Requirements and (IV) Granting Related Relief [Docket No.
                          255 – filed June 28, 2019]

                   Status: On June 28, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         18.       Debtors' Application for Entry of an Order (I) Authorizing the Employment and
                   Retention of Moelis & Company LLC as Financial Advisor and Investment
                   Banker to the Debtors Effective Nunc Pro Tunc to the Petition Date, (II) Waiving

                                                   13
RLF1 21479987v.1
               Case 19-11240-LSS          Doc 259       Filed 07/01/19    Page 14 of 20



                   Certain Information Requirements Imposed by Local Rule 2016-2 and
                   (III) Granting Related Relief [Docket No. 80 – filed June 6, 2019]

                   Objection/Response Deadline:          June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for the Committee to June 27, 2019 at 12:00
                                                         p.m. (ET); extended for the U.S. Trustee to
                                                         June 28, 2019 at 12:00 p.m. (ET)

                   Objection / Responses Received:

                   A.     Informal Comments from the U.S. Trustee

                   Related Documents: None.

                   Status: The hearing on this matter is going forward.

         19.       Application of the Debtors for an Order Authorizing Them to Retain and Employ
                   Omni Management Group, Inc. as Administrative Advisor Nunc Pro Tunc to the
                   Petition Date [Docket No. 105 – filed June 11, 2019]

                   Objection/Response Deadline:          June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for the Committee to June 27, 2019 at 12:00
                                                         p.m. (ET)

                   Objection / Responses Received:

                   A.     Informal Comments from the U.S. Trustee

                   Related Documents:

                   i.     Certification of Counsel Regarding Order Granting Application of the
                          Debtors for an Order Authorizing Them to Retain and Employ Omni
                          Management Group, Inc. as Administrative Advisor Nunc Pro Tunc
                          to the Petition Date [Docket No. 254 – filed June 28, 2019]

                   Status: On June 28, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         20.       Debtors' Application for an Order Authorizing Them to Retain and Employ Jones
                   Day as Counsel, Nunc Pro Tunc to the Petition Date [Docket No. 107 – filed June
                   11, 2019]

                   Objection/Response Deadline:          June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for the Committee to June 27, 2019 at 12:00
                                                         p.m. (ET); extended for the U.S. Trustee to
                                                         June 28, 2019 at 12:00 p.m. (ET)
                                                   14
RLF1 21479987v.1
               Case 19-11240-LSS          Doc 259       Filed 07/01/19    Page 15 of 20




                   Objection / Responses Received:

                   A.     Informal Comments from U.S. Trustee

                   Related Documents:

                   i.     Certification of Counsel Regarding Order Authorizing the Debtors to
                          Retain and Employ Jones Day as Counsel, Nunc Pro Tunc to the
                          Petition Date [Docket No. 253 – filed June 28, 2019]

                   Status: On June 28, 2019, the Debtors filed a revised proposed order under
                           certification of counsel in connection with this matter. Accordingly, a
                           hearing on this matter is only necessary to the extent the Court has
                           questions or concerns.

         21.       Motion of the Debtors for an Order (I) Extending the Time Within Which the
                   Debtors Must File Their (A) Schedules of Assets and Liabilities, (B) Statements
                   of Financial Affairs, and (C) Rule 2015.3 Financial Reports and (II) Granting
                   Related Relief [Docket No. 144 – filed June 18, 2019]

                   Objection/Response Deadline:          June 25, 2019 at 4:00 p.m. (ET); extended
                                                         for the Committee to June 27, 2019 at 12:00
                                                         p.m. (ET)

                   Objection / Responses Received:

                   A.     Limited Objection of the Official Committee of Unsecured Creditors to
                          Motion of the Debtors for an Order (I) Extending the Time Within Which
                          the Debtors Must File Their (A) Schedules of Assets and Liabilities, (B)
                          Statements of Financial Affairs, and (C) Rule 2015.3 Financial Reports
                          and (II) Granting Related Relief [Docket No. 217 - filed June 27, 2019]

                   B.     Informal Comments from the U.S. Trustee

                   Status: The hearing on this matter is going forward.

         22.       Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
                   Provide Bidding Protections in Accordance with the Bidding Procedures and the
                   Gateway Stalking Horse Agreement and (II) Granting Related Relief [Docket No.
                   185 – filed June 24, 2019]

                   Objection/Response Deadline:          July 1, 2019 at 12:00 p.m. (ET)

                   Objection / Responses Received:       None.



                                                   15
RLF1 21479987v.1
               Case 19-11240-LSS          Doc 259       Filed 07/01/19    Page 16 of 20



                   Related Documents:

                   i.     Motion of the Debtors for Entry of an Order Shortening the Notice and
                          Objection Periods for the Stalking Horse Motions [Docket No. 188 – filed
                          June 25, 2019]

                   ii.    Declaration of Alan D. Holtz in Support of the (I) Gateway Stalking Horse
                          Motion, (II) Farids Stalking Horse Motion and (III) Planetart Stalking
                          Horse Motion [Docket No. 189 – filed June 25, 2019]

                   iii.   Declaration of Steve Bloom in Support of the Gateway Stalking Horse
                          Motion [Docket No. 197 – filed June 25, 2019]

                   iv.    Order Shortening the Notice and Objection Periods for the Debtors'
                          Stalking Horse Motions [Docket No. 200 – entered June 25, 2019]

                   v.     Notice of Stalking Horse Motions and Hearing [Docket No. 202 – filed
                          June 25, 2019]

                   Status: The hearing on this matter is going forward.

         23.       Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
                   Provide Bidding Protections in Accordance with the Bidding Procedures and the
                   Farids Stalking Horse Agreement and (II) Granting Related Relief [Docket No.
                   186 – filed June 24, 2019]

                   Objection/Response Deadline:          July 1, 2019 at 12:00 p.m. (ET)

                   Objection / Responses Received:       None.

                   Related Documents:

                   i.     Motion of the Debtors for Entry of an Order Shortening the Notice and
                          Objection Periods for the Stalking Horse Motions [Docket No. 188 – filed
                          June 25, 2019] (Document located under tab 22.i.)

                   ii.    Declaration of Alan D. Holtz in Support of the (I) Gateway Stalking Horse
                          Motion, (II) Farids Stalking Horse Motion and (III) Planetart Stalking
                          Horse Motion [Docket No. 189 – filed June 25, 2019] (Document located
                          under tab 22.ii.)

                   iii.   Declaration of Jean Hosty in Support of the Farids Stalking Horse Motion
                          and Planetart Stalking Horse Motion [Docket No. 190 – filed June 25,
                          2019]

                   iv.    Order Shortening the Notice and Objection Periods for the Debtors'
                          Stalking Horse Motions [Docket No. 200 – entered June 25, 2019]
                          (Document located under tab 22.iv.)
                                                   16
RLF1 21479987v.1
               Case 19-11240-LSS          Doc 259       Filed 07/01/19    Page 17 of 20



                   Status: The hearing on this matter is going forward.

         24.       Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
                   Provide Bidding Protections in Accordance with the Bidding Procedures and the
                   PlanetArt Stalking Horse Agreement and (II) Granting Related Relief [Docket
                   No. 187 – filed June 24, 2019]

                   Objection/Response Deadline:          July 1, 2019 at 12:00 p.m. (ET)

                   Objection / Responses Received:       None.

                   Related Documents:

                   i.     Motion of the Debtors for Entry of an Order Shortening the Notice and
                          Objection Periods for the Stalking Horse Motions [Docket No. 188 – filed
                          June 25, 2019] (Document located under tab 22.i.)

                   ii.    Declaration of Alan D. Holtz in Support of the (I) Gateway Stalking Horse
                          Motion, (II) Farids Stalking Horse Motion and (III) Planetart Stalking
                          Horse Motion [Docket No. 189 – filed June 25, 2019] (Document located
                          under tab 22.ii.)

                   iii.   Declaration of Jean Hosty in Support of the Farids Stalking Horse Motion
                          and Planetart Stalking Horse Motion [Docket No. 190 – filed June 25,
                          2019] (Document located under tab 22iii.)

                   iv.    Order Shortening the Notice and Objection Periods for the Debtors'
                          Stalking Horse Motions [Docket No. 200 – entered June 25, 2019]
                          (Document located under tab 22.iv.)

                   Status: The hearing on this matter is going forward.

         25.       Motion of Randstad General Partner (US), LLC and Randstad North America,
                   Inc. for Entry of an Order Authorizing the Filing Under Seal of Certain Exhibits
                   to Their Motion to (I) Compel the Debtors to Assume or Reject Their Contracts
                   with Randstad, and (II) Post a $1,500,000 Deposit for Post-Petition
                   Administrative Claims and Obligations [Docket No. 203 – filed June 25, 2019]

                   Objection/Response Deadline:          June 28, 2019 at 4:00 p.m. (ET)
                                                         (Requested); extended to June 28, 2019 at
                                                         11:59 p.m. for the Debtors

                   Objection / Responses Received:

                   A.     Objection of Bank of America, N.A. to Motion to Compel (D.I. 205),
                          Motion to Shorten Notice (D.I. 206), and Motion to Seal (D.I. 203) of


                                                   17
RLF1 21479987v.1
               Case 19-11240-LSS         Doc 259       Filed 07/01/19   Page 18 of 20



                          Randstad General Partner (US), LLC and Randstad North America,
                          Inc. [Docket No. 250 - filed June 28, 2019]

                   Related Documents:

                   i.     Motion of Randstad General Partner (US), LLC and Randstad North
                          America, Inc. to (I) Compel the Debtors to Assume or Reject Their
                          Contracts with Randstad, and (II) Post a $1,500,000 Deposit for Post-
                          Petition Administrative Claims and Obligations (SEALED) [Docket No.
                          204 – filed June 25, 2019] (Document located under tab 26)

                   ii.    Motion of Randstad General Partner (US), LLC and Randstad North
                          America, Inc. to (I) Compel the Debtors to Assume or Reject Their
                          Contracts with Randstad, and (II) Post a $1,500,000 Deposit for Post-
                          Petition Administrative Claims and Obligations (REDACTED) [Docket
                          No. 205 – filed June 25, 2019]

                   iii.   Motion of Randstad General Partner (US), LLC and Randstad North
                          America, Inc. for Entry of an Order Shortening the Notice and Objection
                          Periods for Their Motion to (I) Compel the Debtors to Assume or Reject
                          Their Contracts with Randstad, and (II) Post a $1,500,000 Deposit for
                          Post-Petition Administrative Claims and Obligations [Docket No. 206 –
                          filed June 25, 2019]

                   iv.    Notice of Withdrawal of Motion of Randstad General Partner (US),
                          LLC and Randstad North America, Inc. for Entry of an Order
                          Shortening the Notice and Objection Periods for Their Motion to (I)
                          Compel the Debtors to Assume or Reject Their Contracts with
                          Randstad, and (II) Post a $1,500,000 Deposit for Post-Petition
                          Administrative Claims and Obligations [Docket No. 251 – filed June
                          28, 2019]

                   Status: The hearing regarding this matter is continued to the omnibus
                           hearing scheduled for July 23, 2019 at 10:00 a.m. (ET).

         26.       Motion of Randstad General Partner (US), LLC and Randstad North America,
                   Inc. to (I) Compel the Debtors to Assume or Reject Their Contracts with
                   Randstad, and (II) Post a $1,500,000 Deposit for Post-Petition Administrative
                   Claims and Obligations (SEALED) [Docket No. 204 – filed June 25, 2019]

                   Objection/Response Deadline:         June 28, 2019 at 4:00 p.m. (ET)
                                                        (Requested); extended to June 28, 2019 at
                                                        11:59 p.m. for the Debtors

                   Objection / Responses Received:



                                                  18
RLF1 21479987v.1
               Case 19-11240-LSS         Doc 259       Filed 07/01/19   Page 19 of 20



                   A.     Objection of Bank of America, N.A. to Motion to Compel (D.I. 205),
                          Motion to Shorten Notice (D.I. 206), and Motion to Seal (D.I. 203) of
                          Randstad General Partner (US), LLC and Randstad North America,
                          Inc. [Docket No. 250 - filed June 28, 2019] (Document located under
                          tab 25)

                   Related Documents:

                   i.     Motion of Randstad General Partner (US), LLC and Randstad North
                          America, Inc. for Entry of an Order Authorizing the Filing Under Seal of
                          Certain Exhibits to Their Motion to (I) Compel the Debtors to Assume or
                          Reject Their Contracts with Randstad, and (II) Post a $1,500,000 Deposit
                          for Post-Petition Administrative Claims and Obligations [Docket No. 203
                          – filed June 25, 2019] (Document located under tab 25)

                   ii.    Motion of Randstad General Partner (US), LLC and Randstad North
                          America, Inc. to (I) Compel the Debtors to Assume or Reject Their
                          Contracts with Randstad, and (II) Post a $1,500,000 Deposit for Post-
                          Petition Administrative Claims and Obligations (REDACTED) [Docket
                          No. 205 – filed June 25, 2019] (Document located under tab 25.ii.)

                   iii.   Motion of Randstad General Partner (US), LLC and Randstad North
                          America, Inc. for Entry of an Order Shortening the Notice and Objection
                          Periods for Their Motion to (I) Compel the Debtors to Assume or Reject
                          Their Contracts with Randstad, and (II) Post a $1,500,000 Deposit for
                          Post-Petition Administrative Claims and Obligations [Docket No. 206 –
                          filed June 25, 2019] (Document located under tab 25.iii.)

                   iv.    Notice of Withdrawal of Motion of Randstad General Partner (US),
                          LLC and Randstad North America, Inc. for Entry of an Order
                          Shortening the Notice and Objection Periods for Their Motion to (I)
                          Compel the Debtors to Assume or Reject Their Contracts with
                          Randstad, and (II) Post a $1,500,000 Deposit for Post-Petition
                          Administrative Claims and Obligations [Docket No. 251 – filed June
                          28, 2019] (Document located under tab 25.iv)

                   Status: The hearing regarding this matter is continued to the omnibus
                           hearing scheduled for July 23, 2019 at 10:00 a.m. (ET).




                                                  19
RLF1 21479987v.1
               Case 19-11240-LSS   Doc 259    Filed 07/01/19     Page 20 of 20




Dated: July 1, 2019                    Respectfully submitted,
       Wilmington, Delaware

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                                       PROPOSED ATTORNEYS FOR DEBTORS
                                       AND DEBTORS IN POSSESSION



                                         20
RLF1 21479987v.1
